Case 2:25-cv-02825-MCA-LDW      Document 33     Filed 05/05/25   Page 1 of 1 PageID: 247




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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

   STUDENT DOE #1,                            HON. MADELINE COX ARLEO
                Plaintiff,                    HON. LEDA D. WETTRE

          v.
                                              Civil Action No. 25-2825 (MCA)(LDW)
   DONALD J. TRUMP, et al.,

                Defendants.

                                NOTICE OF FILING

        Defendants respectfully submit this notice to apprise the Court of a
  development that may impact the claims in this suit. As of April 26, 2025,
  Immigration and Customs Enforcement (“ICE”) has promulgated a new policy
  concerning the termination of records in the Student and Exchange Visitor
  Information System (“SEVIS”). A copy of that new policy is attached.

                                               Respectfully submitted,

                                               ALINA HABBA
                                               United States Attorney

  Dated: May 5, 2025                  By:      /s/ Angela E. Juneau
                                               ANGELA E. JUNEAU
                                               Assistant U.S. Attorney
